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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                             )
                                                      )               8:11CR266
                       Plaintiff,                     )
                                                      )
       vs.                                            )               ORDER
                                                      )
JANAE DAVIS,                                          )
                                                      )
                       Defendant.                     )


       This matter is before the court on the motion for an extension of time by defendant Janae
Davis (Davis) (Filing No. 27). Davis seeks additional time in which to file pretrial motions in
accordance with the progression order. Davis has filed an affidavit wherein she consents to the
motion and acknowledges she understands the additional time may be excludable time for the
purposes of the Speedy Trial Act. Davis' counsel represents that government's counsel has no
objection to the motion. Upon consideration, the motion will be granted.


       IT IS ORDERED:

       Defendant Davis' motion for an extension of time (Filing No. 27) is granted. Davis is given

until on or before October 3, 2011, in which to file pretrial motions pursuant to the progression

order. The ends of justice have been served by granting such motion and outweigh the interests

of the public and the defendant in a speedy trial. The additional time arising as a result of the

granting of the motion, i.e., the time between September 1, 2011, and October 3, 2011, shall be

deemed excludable time in any computation of time under the requirement of the Speedy Trial Act

for the reason defendant's counsel requires additional time to adequately prepare the case, taking
into consideration due diligence of counsel, and the novelty and complexity of this case. The failure
to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


       DATED this 1st day of September, 2011.
                                                      BY THE COURT:
                                                      s/Thomas D. Thalken
                                                      United States Magistrate Judge
